Case No. 1:17-cr-00168-CMA    Document 115 filed 12/31/19 USDC Colorado pg 1
                                       of 1
Appellate Case: 18-1217   Document: 010110282621 Date Filed: 01/02/2020 Page: 1
                   Supreme Court of the United States
                          Office of the Clerk
                      Washington, DC 20543-0001
                                                                  Scott S. Harris
                                                                  Clerk of the Court
                                                                  (202) 479-3011
                                   December 31, 2019


 Clerk
 United States Court of Appeals for the Tenth
 Circuit
 Byron White Courthouse
 1823 Stout Street
 Denver, CO 80257


       Re: Karen Lynn McClaflin
           v. United States
           No. 19-7136
           (Your No. 18-1217)


 Dear Clerk:

      The petition for a writ of certiorari in the above entitled case was filed on
 December 18, 2019 and placed on the docket December 31, 2019 as No. 19-7136.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Redmond K. Barnes
                                        Case Analyst
